       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 1 of 42




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA




 CAIRN ENERGY PLC and
 CAIRN UK HOLDINGS LIMITED,

                         Petitioners,
                                           Case No. 1:21-cv-00396-RJL
       v.

 REPUBLIC OF INDIA,

                         Respondent.




            STATEMENT OF POINTS AND AUTHORITIES IN SUPPORT OF
                THE REPUBLIC OF INDIA’S MOTION TO DISMISS




                                         Carolyn B. Lamm (D.C. Bar No. 221325)
                                         Nicolle Kownacki (D.C. Bar No. 1005627)
                                         David Riesenberg (D.C. Bar No. 1033269)
                                         701 Thirteenth Street, N.W.
                                         Washington, D.C. 20005
                                         Phone: (202) 626-3600
                                         Fax: (202) 639-9355


August 13, 2021                          Counsel for the Republic of India
           Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 2 of 42




                                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES .................................................................................................... iii

PRELIMINARY STATEMENT ................................................................................................ 1

BACKGROUND ........................................................................................................................ 5

                The 1993 and 1994 Treaties Between India and the United Kingdom ..................... 5

                The 2006 Divestment ................................................................................................ 6

                The 2014 Tax Investigation and Assessment.......................................................... 11

                The 2016 Arbitration............................................................................................... 13

ARGUMENT ............................................................................................................................ 14

I.      India Did Not Offer to Arbitrate Petitioners’ Dispute, and Did Not Exclude Judicial
        Review of the Arbitrators’ Competence .......................................................................... 15

                India Did Not Offer to Arbitrate Tax Disputes ....................................................... 17

                India Did Not Offer to Arbitrate Disputes Involving Illegal Investments, Such as
                Petitioners’ Abusive Tax-Avoidance Structure ...................................................... 20

                India Did Not Offer to Arbitrate Disputes Involving Petitioners’ “Divestments” or
                “Returns”................................................................................................................. 24

                The Parties Did Not Exclude Judicial Review of the Existence of an Arbitration
                Agreement ............................................................................................................... 25

II.     India Has Not Waived Its Sovereign Immunity............................................................... 31

CONCLUSION ......................................................................................................................... 33

CERTIFICATE OF SERVICE ................................................................................................. 35




                                                                       ii
           Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 3 of 42




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

                                                               CASES

AT&T Techs. v. Communs. Workers of Am.,
  475 U.S. 643 (1986) .............................................................................................................4, 17

Belize Soc. Dev., Ltd. v. Gov’t of Belize,
    794 F.3d 99 (D.C. Cir. 2015) ...................................................................................................30

Bell Helicopter Textron, Inc. v. Islamic Republic of Iran,
    734 F.3d 1175 (D.C. Cir. 2013) ...............................................................................................14

*BG Grp. PLC v. Republic of Argentina,
   572 U.S. 25 (2014) .........................................................................................................3, 16, 28

Bolivarian Republic of Venezuela v. Helmerich & Payne Int'l Drilling Co.,
   137 S. Ct. 1312 (2017) ...............................................................................................................1

Chevron Corp. v. Republic of Ecuador,
   795 F.3d 200 (D.C. Cir. 2015) .............................................................................................2, 15

Citigroup Glob. Mkts. v. Abbar,
    761 F.3d 268 (2d Cir. 2014).....................................................................................................29

*Creighton Ltd. v. Gov’t of Qatar,
   181 F.3d 118 (D.C. Cir. 1999) ...........................................................................................31, 33

DDK Hotels, LLC v. Williams-Sonoma,
  No. 20-2748-cv, 2021 U.S. App. LEXIS 21862
  (2d Cir. July 23, 2021) .........................................................................................................3, 26

FAA v. Cooper,
  566 U.S. 284 (2012) .................................................................................................................32

First Options of Chicago, Inc. v. Kaplan,
    514 U.S. 938, (1995) ......................................................................................................3, 26, 28

FSP, Inc. v. Societe Generale,
   No. 02-CV-4786, 2005 U.S. Dist. LEXIS 3081
   (S.D.N.Y. Feb. 25, 2005) .........................................................................................................29

Granite Rock Co. v. Int’l Brotherhood of Teamsters,
   561 U.S. 287 (2010) ...................................................................................................................2




                                                                    iii
           Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 4 of 42




Howsam v. Dean Witter Reynolds,
  537 U.S. 79 (2002) ...................................................................................................................28

Hulley Enters. v. Russian Fed’n,
   211 F. Supp. 3d 269 (D.D.C. 2016) .........................................................................................16

Infrared Envtl. Infrastructure GP Ltd. v. Kingdom of Spain,
    No. 20-CV-817 (JDB), 2021 U.S. Dist. LEXIS 120489
    (D.D.C. June 29, 2021) ........................................................................................................4, 16

Ivanenko v. Yanukovich,
   995 F.3d 232 (D.C. Cir. 2021) .................................................................................................31

Kilburn v. Socialist People’s Libyan Arab Jamahiriya,
    376 F.3d 1123 (D.C. Cir. 2004) ...............................................................................................15

LLC SPC Stileks v. Republic of Moldova,
   985 F.3d 871 (D.C. Cir. 2021) ...........................................................................................26, 28

Pearce v. E.F. Hutton Grp., Inc.,
   828 F.2d 826 (D.C. Cir. 1987) ................................................................................................. 29

Peterson v. Royal Kingdom of Saudi Arabia,
   416 F.3d 83 (D.C. Cir. 2005) ...................................................................................................14

Phoenix Consulting, Inc. v. Republic of Angola,
   216 F.3d 36 (D.C. Cir. 2000) .............................................................................................14, 15

*Process & Indus. Devs. v. Fed. Republic of Nigeria,
   962 F.3d 576 (D.C. Cir. 2020) .........................................................................................1, 5, 33

Raymond James Fin. Servs. v. Cary,
   709 F.3d 382 (4th Cir. 2013) ...................................................................................................29

Samantar v. Yousuf,
   560 U.S. 305 (2010) .................................................................................................................14

Saudi Arabia v. Nelson,
   507 U.S. 349 (1993) .................................................................................................................14

Schwartz v. Chow,
   867 A.2d 230 (D.C. 2005) .......................................................................................................28

Tatneft v. Ukraine,
   771 F. App’x 9 (D.C. Cir. 2019) ..........................................................................................5, 33

UBS Sec. LLC v. Voegeli,
  684 F. Supp. 2d 351 (S.D.N.Y. 2010)......................................................................................29



                                                                   iv
            Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 5 of 42




World Wide Minerals, LTD. v. Republic of Kazakhstan,
  296 F.3d 1154 (D.C. Cir. 2002) ...............................................................................................31

                                          FEDERAL STATUTES AND RULES

28 U.S.C. § 1604 ............................................................................................................................14

*28 U.S.C. § 1605 .................................................................................................................. passim

28 U.S.C. § 1606 ............................................................................................................................14

28 U.S.C. § 1607 ............................................................................................................................14

Fed. R. Civ. P. 12 .............................................................................................................................1

                                                    OTHER AUTHORITIES

1961 Income Tax Act.......................................................................................................................3

     Section 293...............................................................................................................................19

     *Section 9(1)(i) ......................................................................................................11, 12, 22, 23

1993 UK-India Double Taxation Avoidance Agreement ................................................................6

     Article 27 .............................................................................................................................6, 17

     Article 30 .................................................................................................................................18

Andreas Börner, Article III, in Recognition and Enforcement of Foreign Arbitral
   Awards: A Global Commentary on the New York Convention (Herbert
   Kronke, et al. eds., 2010) .........................................................................................................32

Bhavesh Lakhani v. State of Maharashtra,
   (2009) 9 SCC 551 ¶ 46 (India).................................................................................................20

Chloro Controls (India) Private Ltd. v. Severn Trent
   Water Purification Inc. and Orgs.
   (2013) 1 SCC 641 (India) ....................................................................................................3, 27

Convention on the Recognition and Enforcement of Foreign Arbitral Awards,
   June 10, 1958, 21 U.S.T. 2517 ...................................................................................................1

     Article V.....................................................................................................................................1

     Article I(3) ...............................................................................................................................32




                                                                        v
           Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 6 of 42




Dallah Real Estate and Tourism Holding Co. v. The Ministry of Religious Affairs,
   Gov’t of Pakistan,
   (2010) UKSC 46 (United Kingdom)....................................................................................3, 27

Dutch Civil Code, art. 1052(1) ......................................................................................................27

Finance Act 2012, Ch. III § 4(a) ....................................................................................................12

H.R. Rep. 1487, 94th Cong. (1976) ...............................................................................................30

H.R. Rep. No. 91-1181 (1970).......................................................................................................32

India-UK Agreement for the Promotion and Protection of Investments,
    March 14, 1994 ..........................................................................................................................3

     *Article 1(b) ..................................................................................................................... passim

     Article 4 ...................................................................................................................................25

     Article 7 ...................................................................................................................................25

     *Article 9 ......................................................................................................................... passim

     *Article 21 ...................................................................................................................25, 26, 27

N.Y.S.E. Const. Art. XI .................................................................................................................28

N.Y.S.E. R. 600(a) .........................................................................................................................28

Pieter Sanders, Commentary on UNCITRAL Arbitration Rules, 2 Y.B. COM.
    ARB. 172, (Pieter Sanders ed., 1977) ......................................................................................28

Republic of Ecuador/Chevron Corp.,
   HR, 24 Sept. 2014,
   First Chamber No. 13/04679 (EV/LZ) (Neth.) ..................................................................14, 27

S. Rep. No. 91-702, 91st Cong. (1970) ..........................................................................................32

S. Rep. No. 94-1310, 94th Cong. (1976) .......................................................................................30

Salini Costruttori S.p.A. and Italstrade S.p.A. v. Kingdom of Morocco,
    ICSID Case No. ARB/00/4, 23 July 2001,
    42 I.L.M. 609 (2003)................................................................................................................24

UNCITRAL R., art. 21(1) ........................................................................................................ 25-26




                                                                        vi
           Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 7 of 42




Vienna Convention on the Law of Treaties,
   May 23, 1969, 1155 U.N.T.S. 331 ...........................................................................................17

     Article 31 .................................................................................................................................17

     Article 46 ...........................................................................................................................19, 20

W. Mark C. Weidemaier, Sovereign Immunity and Sovereign Debt,
   2014 U. Ill. L. Rev. 67 (2014)..................................................................................................32

*Authorities upon which counsel chiefly relies are marked with an asterisk.




                                                                       vii
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 8 of 42




       The Republic of India (“India”) respectfully submits this Motion to Dismiss under Federal

Rule of Civil Procedure 12(b)(1). This Court lacks subject-matter jurisdiction under the Foreign

Sovereign Immunities Act (“FSIA”) because India never waived its sovereign immunity and,

likewise, never offered—let alone agreed—to arbitrate the present dispute with Petitioners. India

also never “clearly and unmistakably” excluded judicial review or delegated exclusive competence

to decide these questions to any arbitral tribunal, for the reasons detailed below. Petitioners thus

cannot satisfy any exception to sovereign immunity, in particular under 28 U.S.C. §§ 1605(a)(1)

and (a)(6).

                                 PRELIMINARY STATEMENT

       Petitioners seek to confirm an arbitration award (the “Award,” ECF No. 1-2) rendered on

December 21, 2020, in which three arbitrators seated in the Netherlands ordered India to pay more

than $1.2 billion to Petitioners, plus interest and attorneys’ fees. India disputes the validity of the

Award based upon multiple grounds set forth under Article V of the Convention on Recognition

and Enforcement of Foreign Arbitral Awards (“New York Convention”), June 10, 1958, 21 U.S.T.

2517, many of which grounds overlap with India’s set-aside challenges in the parallel Dutch

annulment litigation. See India’s Mot. to Stay (“MTS”), Table 1 & Part E (“The 2021 Litigation

in Multiple Jurisdictions Worldwide”).

       As a foreign sovereign State, however, India is first entitled to “a threshold determination

of immunity” under the FSIA “before the sovereign can be compelled to defend the merits” of its

challenges under the New York Convention. Process & Indus. Devs. v. Fed. Republic of Nigeria

(“P&ID”), 962 F.3d 576, 585 (D.C. Cir. 2020) (citations and quotation marks omitted). The FSIA

codifies sovereign immunity from suit, which must be adjudicated “as near to the outset of the case

as is reasonably possible.” Bolivarian Republic of Venezuela v. Helmerich & Payne Int'l Drilling

Co., 137 S. Ct. 1312, 1317 (2017).

                                                  1
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 9 of 42




       In the present motion, India seeks dismissal of this action for lack of subject-matter

jurisdiction under the FSIA. Although Petitioners have purported to invoke two alleged exceptions

to India’s immunity under the FSIA, see Pet. ¶¶ 9-10 (citing 28 U.S.C. §§ 1605(a)(1) and (a)(6)),

neither exception applies in the present case, as detailed below.

       First, Petitioners purport to invoke the “arbitration” exception under 28 U.S.C.

§ 1605(a)(6). The present case, however, does not involve any “agreement made by the foreign

state” or “award made pursuant to such an agreement to arbitrate,” as required under § 1605(a)(6).

“Arbitration is strictly a matter of consent . . . and thus is a way to resolve those disputes—but

only those disputes—that the parties have agreed to submit to arbitration.” Granite Rock Co. v.

Int’l Brotherhood of Teamsters, 561 U.S. 287, 299 (2010) (emphasis in original) (internal citations

and quotation marks omitted). In the present case, India never even offered—let alone agreed—

to arbitrate the present dispute with Petitioners. The “preponderance of the evidence” set forth

below is sufficient to rebut Petitioners’ “prima facie showing” as to any purported arbitration

agreement. Chevron Corp. v. Republic of Ecuador, 795 F.3d 200, 205 (D.C. Cir. 2015) (describing

the burden-shifting framework applicable to such an analysis).

       Specifically, Petitioners’ dispute concerns whether the Government of India was entitled

under Indian law to tax Petitioners’ capital gains of $5.5 billion, which were realized in connection

with an initial public offering (“IPO”) on the India stock market in 2006. Writ of Summons

(“Writ”) ¶ 32 (Declaration of Prof. Albert Jan van den Berg (“Van den Berg Decl.”), Ex. 1); Award

¶ 902 (ECF No. 1-2). Petitioners intentionally camouflaged the capital gains using a number of

artificial financial devices—including, most egregiously, a pair of “Daylight Loans,” by which

Petitioners funneled billions of dollars in cash into and then out of India within 24 hours. Writ ¶

374. Due to Petitioners’ subterfuge, the relevant Indian authorities did not discover the capital



                                                 2
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 10 of 42




gains until 2014—after their suspicions were aroused by references to Petitioners in the Offshore

Leaks Database (a database similar to the Panama Papers). Writ ¶ 47. Finally, in 2016, India

exercised its sovereign power of taxation under the Constitution of India and the 1961 Income Tax

Act (“IT Act”), and imposed a lawful tax assessment ordering Petitioners to pay approximately

$1.6 billion in 2016. Writ ¶¶ 3, 45.

        Petitioners sought to challenge the tax assessment by commencing international arbitration

against India in the Netherlands. Award ¶ 179. Petitioners purported to “accept” India’s standing

offer to arbitrate under a bilateral investment treaty (“BIT”), the 1994 India-UK Agreement for the

Promotion and Protection of Investments (“India-UK BIT”) (ECF No. 1-3). See, e.g., BG Grp.

PLC v. Republic of Argentina, 572 U.S. 25, 42 (2014) (describing “how an offer to arbitrate in an

investment treaty can be accepted, such as through an investor’s filing of a notice of arbitration”).

Significantly, the present case does not present “clear and unmistakable evidence” that the parties

intended to delegate the question of the arbitrators’ competence exclusively to the arbitrators under

First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995). The question of whether India

offered to arbitrate a dispute such as the one here is therefore a matter for this Court to decide now,

as detailed below in Part I.D. 1




1
    Although the India-UK BIT references the 1976 UNCITRAL Arbitration Rules, which contain a so-called
    “competence-competence” clause, such clauses do “not, per se, demonstrate clear and unmistakable evidence of
    the parties’ intent to delegate threshold questions of arbitrability to the arbitrator where other aspects of the
    contract create ambiguity as to the parties’ intent.” DDK Hotels, LLC v. Williams-Sonoma, Inc., No. 20-2748-cv,
    2021 U.S. App. LEXIS 21862, at *22 (2d Cir. July 23, 2021). In the present case, the competence-competence
    clause must be interpreted in light of the fact that all three relevant jurisdictions (India, the United Kingdom, and
    the Netherlands) recognize the doctrine of “competence-competence” as permitting judicial review after the
    arbitration is completed. E.g., Chloro Controls (India) Private Ltd. v. Severn Trent Water Purification Inc. and
    Orgs., (2013) 1 SCC 641 ¶ 129 (India) (Sarkar Op., Ex. 34) (“The arbitrators are to be not the sole judge but first
    judge, of their jurisdiction.”); Dallah Real Estate and Tourism Holding Co. v. The Ministry of Religious Affairs,
    Gov’t of Pakistan, (2010) UKSC 46 ¶¶ 25-26, 84-86 (Sarkar Op., Ex. 52) (“[T]he last word as to whether or not
    an alleged arbitral tribunal actually has jurisdiction will lie with a court . . . .”). As the Second Circuit has
    explained in DDK Hotels, 2021 U.S. App. LEXIS 21862, at *22, “context matters,” and the three relevant
    jurisdictions’ unanimous understanding of competence-competence is a critical part of that “context.”


                                                           3
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 11 of 42




       In particular, Petitioners’ purported “acceptance” failed to correspond to at least three

material terms of India’s standing offer to arbitrate. First, India’s offer did not contemplate

arbitration of tax disputes, which are governed by a distinct India-UK treaty negotiated in parallel

to the 1994 BIT—as would have been objectively evident to UK negotiators at all times, especially

given that tax disputes are excluded from arbitration under India’s 1961 Income Tax Act. IT Act

§ 293 (Declaration of Carolyn B. Lamm (“Lamm Decl.”), Ex. 4); Expert Opinion of Sudipto Sarkar

SA (“Sarkar Op.”) ¶¶ 12-18. Second, India’s offer to arbitrate also explicitly excluded arbitration

of disputes concerning investments made in violation of “the national laws” of India, including the

abusive offshore structure engineered by Petitioners in 2006—which had the dominant purpose of

tax avoidance, and was thus unlawful. India-UK BIT, art. 1(b); Expert Opinion of Justice (Ret.)

Pradeep Nandrajog (“Nandrajog Op.”) ¶ 7. Third, India’s offer of arbitration also extended only

to disputes concerning an “investment,” and thus did not contemplate Petitioners’ dispute over a

“divestment” or any dispute concerning the “returns” (i.e., capital gains) generated thereby. Writ

§ IV.C(iv). All three of these material deficiencies in Petitioners’ purported “acceptance” are

further detailed below in Part I of this Motion to Dismiss, as well as in the Writ of Summons filed

in the Dutch annulment proceedings. Writ §§ IV.B-C, V. These three material deficiencies

prevented any arbitration agreement from being concluded by Petitioners’ purported “acceptance,”

in accordance with the fundamental principle that “a party cannot be required to submit to

arbitration any dispute which he has not agreed so to submit.” AT&T Techs. v. Communs. Workers

of Am., 475 U.S. 643, 648 (1986).

       Accordingly, in the absence of “any putative offer to arbitrate” this dispute with Petitioners,

“the dominoes begin to fall.” Infrared Envtl. Infrastructure GP Ltd. v. Kingdom of Spain, No. 20-

CV-817, 2021 U.S. Dist. LEXIS 120489, at *13 (D.D.C. June 29, 2021) (“If there was no



                                                 4
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 12 of 42




agreement to arbitrate, the . . . tribunal never had jurisdiction, its award is not enforceable, and

therefore it is not entitled to full faith and credit in this Court.”). Of particular importance for

present purposes, the absence of any “agreement made by the foreign state . . . to submit to

arbitration” or “award made pursuant to such an agreement to arbitrate” also has consequences

under the FSIA, inasmuch as Petitioners’ invocation of the arbitration exception must be rejected

under 28 U.S.C. § 1605(a)(6).

       Relatedly, Petitioners also have failed to identify any waiver of India’s immunity, as

required under 28 U.S.C. § 1605(a)(1). Petitioners have misconstrued dicta from Tatneft v.

Ukraine, 771 F. App’x 9, 10 (D.C. Cir. 2019), as purportedly suggesting that India waived

immunity merely by signing the New York Convention—i.e., whether or not India also

purportedly agreed to arbitrate. Pet. ¶10. “But Tatneft was an unpublished disposition, so it does

not bind” courts in future cases, as the D.C. Circuit emphasized in P&ID, 962 F.3d at 584. Indeed,

the New York Convention never even mentions sovereign immunity, let alone any waiver. Nor

did Congress ever make any suggestion that the United States was also waiving sovereign

immunity when considering whether to ratify the New York Convention in 1970. India’s signing

of the New York Convention, therefore, cannot establish any waiver under § 1605(a)(1).

       Accordingly, absent any applicable exception to India’s sovereign immunity, this case

should be dismissed in its entirety for lack of subject-matter jurisdiction under the FSIA.

                                        BACKGROUND

               The 1993 and 1994 Treaties Between India and the United Kingdom

       On March 14, 1994, the High Commissioner of India and the UK’s Secretary of State for

Foreign and Commonwealth Affairs signed the India-UK BIT. India-UK BIT at 15; Writ ¶ 206.

The BIT was never ratified by the Parliament of India.




                                                 5
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 13 of 42




       Under Article 9 of the BIT, India and the United Kingdom each offered to arbitrate their

disputes with “an investor of . . . the other Contracting Party in relation to an investment.” India-

UK BIT, art. 9. By signing the BIT, however, India did not somehow extend an “open-ended”

offer to arbitrate all conceivable disputes with UK investors, regardless of the subject-matter. To

the contrary, India’s offer to arbitrate excluded at least three categories of disputes relevant to the

present case, as detailed below in Parts I-A, I-B, and I-C.

       In summary, India never offered to arbitrate tax disputes under the BIT, given that tax

disputes are addressed in a separate treaty, the 1993 India-UK Double Taxation Avoidance

Agreement (“DTAA”), which was later confirmed to remain in effect by a 2004 Memorandum of

Understanding and a set of 2013 amendments. In any event—representatives of the Executive

lacked competence to subject India to the arbitration of tax disputes absent ratification by

Parliament. In addition, as reflected in Article 1(b) of the BIT, India never offered to arbitrate

disputes relating to economic rights that were not established or acquired “in accordance with the

national laws of India,” such as abusive offshore structures established for the purpose of unlawful

tax avoidance. Finally, India offered to arbitrate only disputes relating to genuine “investments,”

rather than disputes relating to divestments (i.e., the extraction of value from the Indian economy)

or “returns” on investments (i.e., “capital gains” under Article 1(e) of the BIT). The relevance of

these three categorical exclusions from India’s offer of arbitration is demonstrated below.

               The 2006 Divestment

       In 2004, Cairn Energy PLC (“CEP”), a Scottish company that explored and exploited oil

and gas fields in India, discovered three major oil fields in the northern Indian State of Rajasthan.

Award ¶ 23. One of these oil fields constituted “the largest onshore discovery in India in over two

decades.” Id. Eager to capitalize on India’s natural resources, CEP implemented an aggressive

tax avoidance strategy in 2006 to divest and extract maximum profits from India’s economy, while

                                                  6
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 14 of 42




Petitioners avoided paying any kind of capital gains tax worldwide (the “2006 Divestment”). Writ

§ II.A(i)(b).

        To execute the 2006 Divestment, CEP arranged a formally complex series of artificial share

swaps amongst multiple related offshore shell companies registered in multiple jurisdictions. Writ

¶ 30. The actual economic substance of these convoluted transactions, however, was relatively

simple. That is, CEP transferred the shares pertaining to economically valuable Indian assets (i.e.,

the oil fields), which were originally held by offshore (non-Indian) companies, and indirectly

transferred these shares to a newly established Indian company known as Cairn India Limited

(“CIL”). As a purely formal matter, these share swaps transferred the valuable Indian assets at the

company level, rather than at the asset level. Writ ¶¶ 30-31. The new Indian company, CIL, then

used the value of these Indian assets to raise billions of dollars on the Indian stock market through

an initial public offering (“IPO”), while avoiding the payment of capital gains tax anywhere in the

world. Writ ¶¶ 32, 41.

        In India, the lawfulness of tax planning—and the unlawfulness of abusive tax avoidance—

is evaluated using the “dominant purpose” test. Nandrajog Op. ¶ 7. The dominant purpose of

Petitioners’ share swaps was to transfer the Indian assets to CIL (indirectly) without paying tax on

capital gains of approximately $ 5.5 billion realized during such transfer. Writ ¶ 59. This amount

included, in addition to the gains earned by Cairn UK Holdings Limited (“CUHL”)from the share

swaps, a further $ 1.35 billion extracted from India in the form of a dividend payment to CIL’s

shareholders. Writ ¶ 30. This money was raised using Indian assets (oilfields) from the Indian

public on the Indian stock market, but no capital gains tax was ever paid on such amount.




                                                 7
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 15 of 42




        As confirmed by Petitioners’ own witnesses and accepted by the Tribunal, 2 the most crucial

aspects of the 2006 Divestment were as follows:

        (i) Step 1 – Transferring Indian Assets to the Scottish Subsidiary (Writ ¶ 30(i);

            Award ¶¶ 34-35): In June 2006, CEP established CUHL as a Scottish company and

            transferred indirect ownership of all of CEP’s Indian assets to CUHL. That is, each of

            CEP’s Indian assets was owned indirectly through one of 27 subsidiaries (incorporated

            in the UK or in other offshore jurisdictions). The shares of all 27 subsidiaries were

            transferred directly or indirectly from CEP to CUHL, as part of a “share swap” whereby

            CUHL issued its own shares to CEP as consideration.

        (ii) Step 2 – Transferring Indian Assets to the Jersey Subsidiary (Writ ¶ 30(ii); Award

            ¶¶ 36-37): Between August and September 2006, the Scottish subsidiary (CUHL) then

            transferred the shares in each of the 27 subsidiaries to a new offshore company

            established in Jersey, Cairn India Holdings Limited (“CIHL”). As consideration, the

            Jersey subsidiary (CIHL) also performed a second share swap—issuing its own shares

            to the Scottish subsidiary (CUHL).

        (iii) Step 3 – Establishing the Indian Subsidiary for the IPO (Writ ¶ 30(iii); Award ¶

            38): An Indian company, CIL, was established in August 2006. Under Indian law,

            only Indian companies’ shares can be offered in IPOs on the Indian stock market. It

            was therefore understood that CIL would ultimately issue new shares to Indian stock

            market investors based on the value of the Indian assets—and particularly the three

            major oil fields discovered in Rajasthan.




2
    Although the various parties and the Tribunal have described the “six steps” of the 2006 Divestment using
    different terms, the core factual details are substantially the same. Compare Award ¶ 30 with Writ ¶ 29.


                                                     8
Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 16 of 42




(iv) Step 4 – Round-Tripping the Cash from the Daylight Loans into India and Out of

   India (Writ ¶ 30(iv); Award ¶¶ 43, 59, 62): The next step was for indirect ownership

   of the Indian assets held through the Jersey subsidiary (CIHL) to be moved to the Indian

   subsidiary (CIL) in preparation for the IPO. To camouflage the capital gains, CEP

   obtained two massive “Daylight Loans” from Citibank, both of which had to be paid

   back within 24 hours on, respectively, October 12, 2006 and November 22, 2006. The

   first Daylight Loan was worth approximately $1.1 billion, and the second Daylight

   Loan was worth approximately $392 million. The cash was transferred from Citibank

   to CEP, and then (ultimately) to the Indian subsidiary (CIL) through an intra-group

   loan (from CEP to CUHL) and a subscription agreement (between CUHL, CIHL, and

   CIL). The Indian subsidiary (CIL) then used the two tranches of cash in October 2006

   and November 2006 as consideration to purchase two tranches of shares of the Jersey

   subsidiary (CIHL) from the Scottish subsidiary (CUHL). In the Tribunal’s own words,

   “the cash provided by the Daylight Loan . . . entered and exited India on the same day”.

   Award ¶¶ 60-61. At the end of Step 4, CIL had obtained approximately 21.8% of CIHL

   in exchange for cash from the Daylight Loans, and concluded a Share Purchase Deed

   on October 12, 2006, to obtain the remaining 78.2% of CIHL.

(v) Step 5 – Conducting the IPO on the Indian Stock Exchange (Writ ¶ 30(v); Award

   ¶ 67): Between December 11 and 15, 2006, CIL issued new shares on the Indian stock

   market. The IPO raised $ 1.98 billion from the Indian investing public. Critically, the

   fundamental basis for CIL’s value was the Indian oil-producing assets held through the

   Jersey subsidiary (CIHL), to which CIL acquired indirect rights solely through the

   process described above as Step 4.



                                        9
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 17 of 42




       (vi) Step 6 – Completing the Share Transfer and Extracting Dividends from the Indian

           Economy (Writ ¶ 30(vi); Award ¶ 68, 71): Finally, on December 20 and 29, 2006,

           pursuant to the Share Purchase Deed concluded on October 12, 2006, CIL acquired two

           more tranches of CIHL shares from CUHL. The first tranche was obtained as part of

           another share swap, whereby CIL issued its own shares to CUHL. The second tranche

           was obtained in exchange for cash equal to $1.35 billion (out of the total of $1.98

           billion) obtained from the IPO. These funds were paid to CEP as a dividend from

           CUHL, and approximately $940 million was paid to foreign shareholders as a dividend

           from CEP.

       As the Tribunal ultimately concluded during the arbitration, Cairn and its related entities

realized capital gains amounting to US$ 5.5 billion. Award ¶ 1453. Under Indian law, these

capital gains necessarily incurred tax liability of US$ 1.6 billion. Writ ¶¶ 3, 45. Cairn camouflaged

the capital gains, however, by employing certain artificial financial instruments including—most

egregiously—the so-called “Daylight Loans.” Writ ¶ 374. Cairn also failed to file any tax return

for the relevant tax year—a tax year involving a massive IPO and multibillion-dollar share swaps.

Writ ¶¶ 53-55. These tactics prevented the Indian tax authorities from learning about the actual

economic substance of the 2006 Divestment for the purposes of any potential tax assessment under

the 1961 Income Tax Act. Id.

       The possibility that India would impose capital gains tax upon the transactions underlying

Petitioners’ 2006 Divestment was not only objectively foreseeable—it was subjectively foreseen.

Specifically, in a presentation on May 3, 2006, Cairn considered two potential approaches to

executing the 2006 Divestment—labeled “Plan A” and “Plan B.” Writ ¶¶ 365-67. As Cairn’s

accountants warned in the presentation, both Plan A and Plan B would indeed expose Cairn to



                                                 10
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 18 of 42




capital gains tax. Writ ¶ 368. The accountants proposed, however, to implement the 2006

Divestment using a third, even more aggressive approach, the so-called “Plan C,” which would

incorporate the “unique and untested” device of the Daylight Loans, as well as a number of other

artificial features. Writ ¶¶ 373-74. The accountants’ proposal was that “Plan C” would shield the

2006 Divestment from capital gains tax, although there was no identifiable precedent whereby the

Indian tax authorities had ever endorsed such aggressive tax avoidance. Writ ¶ 374.

       It is worth emphasizing that the applicable provision of Indian tax legislation—as it read

already in 2006—had a broad scope. Specifically, Section 9(1)(i) of the 1961 Income Tax Act

provided that the income taxable in India includes “all income accruing or arising, whether directly

or indirectly, through or from any business connection in India, or through or from any property

in India, or through or from any asset or source of income in India, or through the transfer of a

capital asset situate in India.” IT Act § 9(1)(i) (Lamm Decl., Ex. 10). India has consistently

explained that this broad provision, first enacted in 1961, necessarily contemplated imposing

capital gains tax upon the 2006 Divestment by virtue of its economic substance.                It is

fundamentally irrelevant whether, from a purely formal perspective, Cairn structured the

transaction as a series of share swaps between a non-Indian company and an Indian company

because—in economic substance—the plain language of the 1961 Income Tax Act was directly

applicable to Petitioners’ indirect transfer of assets located in India. Writ ¶¶ 375-78; Nandrajog

Op. ¶ 8.

               The 2014 Tax Investigation and Assessment

       In April 2013, an organization known as the International Consortium of Investigative

Journalists (“ICIJ”) published the “Offshore Leaks Database,” a searchable “list of offshore

companies and the beneficial owners behind them,” which was generally comparable to the

“Panama Papers” or certain Wikileaks databases. Writ ¶ 47. While reviewing the Offshore Leaks

                                                11
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 19 of 42




Database, the Indian tax authorities discovered the name of the Chairman of Cairn’s Corporate

Advisory Board, and began to research and analyze certain suspicious aspects of Cairn’s financial

statements. Id. Initially suspecting that Cairn had engaged in a 2013 restructuring involving a

“massive write-off” and reported an “inflated value,” the Indian tax authorities carefully began to

evaluate Cairn’s pre-2013 tax documentation. Writ ¶ 150. In the course of doing so, the Indian

tax authorities discovered that one of the relevant shell companies, CUHL, had not filed any tax

return for the year pertaining to the IPO. Writ ¶ 47.

       In January 2014, the Indian tax authorities instructed CUHL to file the missing tax return.

Writ ¶ 46. After reviewing the relevant documentation, the Indian tax authorities concluded that

the share swaps underlying the 2006 Divestment gave rise to taxable capital gains under Section

9(1)(i) of the 1961 Income Tax Act—i.e., indirect transfers of capital assets derived from Indian

natural resources. Writ ¶ 48.

       In addition to the plain text of the 1961 Income Tax Act, reproduced above, the Indian tax

authorities’ conclusion was supported by two “Explanations” enacted by the Parliament of India

in 2012. Neither of these Explanations constituted amendments to the pre-existing law—and,

indeed, both Explanations were explicitly styled as clarifications, rather than as amendments:

       Explanation 4.—For the removal of doubts, it is hereby clarified that the expression
       “through” shall mean and include and shall be deemed to have always meant and
       included “by means of”, “in consequence of” or “by reason of”.

       Explanation 5.—For the removal of doubts, it is hereby clarified that an asset or a
       capital asset being any share or interest in a company or entity registered or
       incorporated outside India shall be deemed to be and shall always be deemed to
       have been situate in India, if the share or interest derives, directly or indirectly, its
       value substantially from the assets located in India.

Act No. 23 of 2012 (“Finance Act 2012”), ch. III, § 4(a) (Lamm Decl., Ex. 6).
       As indicated by their explicit terms, these Explanations were included for the “removal of

doubts,” and merely “clarified” pre-existing law. Id. These explanations thus memorialized an


                                                  12
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 20 of 42




interpretation of Section 9(1)(i) of the Income Tax Act—which was already foreseeable (and

actually foreseen) when Cairn engaged in the 2006 Divestment. Writ ¶ 48.

       After completing the relevant assessment, the Indian tax authorities directed CUHL to

satisfy the unpaid capital gains tax resulting from the 2006 Divestment and the underlying tax-

avoidant restructurings. Writ ¶ 45. The tax was ultimately levied on CUHL by the Income Tax

Department’s Final Assessment Order of January 25, 2016. Id. CUHL’s shares in CIL were

subsequently sold to satisfy the unpaid capital gains tax. Award ¶ 205.

               The 2016 Arbitration

       Even before the Indian tax authorities had issued the final tax assessment, Petitioners

commenced arbitration against India on September 22, 2015, in order to recover compensation

equal to the payable taxes. Award ¶ 179. Petitioners alleged that this dispute purportedly fell

within India’s offer to arbitrate under Article 9 of the 1994 India-UK BIT. Id. Petitioners thus

purported to accept India’s standing offer to arbitrate, even though—as Part I explains below—

India’s offer had excluded: (1) tax disputes, (2) disputes relating to investments made in violation

of Indian law, and (3) disputes relating to either “divestments” or “returns,” rather than genuine

“investments.” .

       India objected to the Tribunal’s jurisdiction on the basis that Petitioners had failed to accept

the offer of arbitration according to its plain terms—i.e., by attempting to arbitrate disputes that

fell outside the offer to arbitrate. The Tribunal disregarded India’s arguments and improperly

upheld its own jurisdiction. Award ¶ 792. The Tribunal similarly rejected India’s substantive

defenses and concluded that India breached the Fair and Equitable Treatment standard under the

India-UK BIT when it issued the final assessment order in relation to the 2006 Divestment. Award

¶ 1816. Shockingly, the Tribunal endorsed the 2006 Divestment as a “triumph of form over

substance,” although the Supreme Court of India has adopted precisely the opposite principle

                                                 13
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 21 of 42




(“substance over form”) as the foundation of its jurisprudence on tax avoidance. Writ ¶ 1588;

Nandrajog Op. ¶ 7.

       In its deeply flawed Award, the Tribunal directed India to pay damages and interest in

excess of US$ 1.2 billion together with interest, as well as US$ 22 million for arbitration and legal

costs. Award ¶ 2032. India filed the Writ of Summons in the Dutch Court of Appeal on the basis

that—regardless of the UNCITRAL Arbitration Rules’ competence-competence clause—the

parties’ shared expectation under Dutch law (as well as under both Indian law and English law)

was that “the question whether a valid arbitration agreement has been concluded ultimately is

referred to the courts.” Republic of Ecuador/Chevron Corp., HR, 24 Sept. 2014, First Chamber

No. 13/04679 (EV/LZ) (Neth.) ¶ 4.2 (Van den Berg Decl., Ex. 3).

                                          ARGUMENT

       The FSIA provides the exclusive basis for subject-matter jurisdiction over an action against

a foreign sovereign State. Samantar v. Yousuf, 560 U.S. 305, 314 (2010) (citing Argentine

Republic v. Amerada Hess Shipping Corp., 488 U.S. 428, 434 (1989)); Peterson v. Royal Kingdom

of Saudi Arabia, 416 F.3d 83, 86 (D.C. Cir. 2005) (“In the United States, there is only one way for

a court to obtain jurisdiction over a foreign state and it is not a particularly generous one—the

FSIA.”). Under the FSIA, a foreign sovereign is immune from all actions in the United States

unless one of the narrow enumerated exceptions to immunity is satisfied. See 28 U.S.C. §§ 1604–

07; Saudi Arabia v. Nelson, 507 U.S. 349, 355 (1993). “[T]he FSIA begins with a presumption of

immunity, which the plaintiff bears the initial burden to overcome by producing evidence that an

exception applies[.]” Bell Helicopter Textron, Inc. v. Islamic Republic of Iran, 734 F.3d 1175,

1183 (D.C. Cir. 2013). If no statutory exception applies, the district court lacks subject-matter




                                                 14
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 22 of 42




jurisdiction over the case. Phoenix Consulting, Inc. v. Republic of Angola, 216 F.3d 36, 39 (D.C.

Cir. 2000).

       Under the FSIA, however, this Court may not assert jurisdiction “merely by assuming the

truth of the facts alleged by the plaintiff.” Phoenix Consulting, 216 F.3d at 40. Rather, the Court

“must go beyond the pleadings and resolve any disputed issues of fact the resolution of which is

necessary to a ruling upon the motion to dismiss.” Id.; see Kilburn v. Socialist People’s Libyan

Arab Jamahiriya, 376 F.3d 1123, 1131 (D.C. Cir. 2004) (courts must “ferret out the facts pertinent

to jurisdiction” under the FSIA).

       In the present case, Petitioners have invoked two alleged exceptions to India’s immunity,

including the “arbitration” exception under 28 U.S.C. §1605(a)(6) and the “waiver” exception

under §1605(a)(1). Neither exception applies in the present case, as detailed below.

I.     India Did Not Offer to Arbitrate Petitioners’ Dispute, and Did Not Exclude Judicial
       Review of the Arbitrators’ Competence

       In relevant part, the text of the FSIA’s arbitration exception under §1605(a)(6) provides as

follows:

       “A foreign state shall not be immune from the jurisdiction of courts of the United
       States . . . in any case . . . in which the action is brought, either to enforce an
       agreement made by the foreign state with or for the benefit of a private party to
       submit to arbitration all or any differences which have arisen or which may arise
       between the parties with respect to a defined legal relationship . . . or to confirm an
       award made pursuant to such an agreement to arbitrate, if . . . the agreement or
       award is or may be governed by a treaty or other international agreement in force
       for the United States calling for the recognition and enforcement of arbitral awards
       . . . .”

28 U.S.C. §1605(a)(6) (emphases added).

       Accordingly, “[i]f there is no arbitration agreement . . . , the District Court lacks jurisdiction

over the foreign state and the action must be dismissed” under §1605(a)(6). Chevron Corp., 795

F.3d at 204.


                                                  15
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 23 of 42




       Petitioners invoke the 1994 India-UK BIT as the purported arbitration agreement. It is

important to emphasize, however, that the BIT is “an investment treaty” containing “a dispute-

resolution provision” applicable to certain categories of disputes between either of the two States

parties and “an investor from the other.” BG Grp., 572 U.S. at 28. The Supreme Court first

analyzed such a treaty in BG Group in 2014, where all three opinions—majority, concurrence, and

dissent—confirmed unanimously that a BIT is typically not an agreement to arbitrate between the

disputing parties. See generally id.

       To the contrary, as BG Group explained, a BIT typically contains a respondent State’s

standing “offer” to arbitrate, which the claimant investor may “accept” by submitting a notice of

arbitration—thus concluding the arbitration agreement at the same moment that the arbitration

commences. See BG Grp., 572 U.S. at 42 (explaining “how an offer to arbitrate in an investment

treaty can be accepted, such as through an investor’s filing of a notice of arbitration”) (emphasis

added); see also id. at 46 (Sotomayor, J., concurring in part) (“[T]he treaty is not an already agreed-

upon arbitration provision between known parties, but rather a nation state’s standing offer to

arbitrate with an amorphous class of private investors.”) (emphasis added); id. at 53 (Roberts, C.J.,

dissenting) (explaining that the BIT’s arbitration clause “constitutes only a unilateral standing offer

. . . an offer to submit to arbitration where certain conditions are met”) (emphasis added). In the

years since BG Group, therefore, this Court has also referred frequently to the “offer-and-

acceptance mechanism” set forth in BITs and other investment treaties. E.g., Infrared Envtl.

Infrastructure GP Ltd., 2021 U.S. Dist. LEXIS 120489, at *5-6 (explaining that “the offer-and-

acceptance mechanism” involves “a standing offer by state parties to arbitrate disputes which

investors may accept by submitting their consent to arbitration”) (emphasis added); Hulley Enters.




                                                  16
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 24 of 42




v. Russian Fed’n, 211 F. Supp. 3d 269, 274 (D.D.C. 2016) (referring to the “standing offer by

parties . . . to arbitrate disputes arising under the treaty”) (emphasis added).

       As detailed below in Parts I-A, I-B, and I-C, Petitioners’ request for arbitration fell outside

of India’s standing offer for at least three distinct reasons. Accordingly, because Petitioners’

acceptance failed to correspond to India’s standing offer of arbitration, no agreement was ever

formed—and India thus retains immunity from this Court’s jurisdiction under the FSIA. Finally,

as explained in Part I-D, the evidence in this case demonstrates that the parties’ intent was never

to delegate the question of arbitrability exclusively to the arbitrators. To the contrary, the parties

fully understood that judicial review would remain available with respect to questions pertaining

to the arbitrators’ jurisdiction. Accordingly, because the parties never evinced a clear and

unmistakable intent to arbitrate tax disputes, it remains this Court’s role to refuse enforcement.

“[A] party cannot be required to submit to arbitration any dispute which he has not agreed so to

submit.” AT&T Techs. v. Communs. Workers of Am., 475 U.S. 643, 648 (1986).

               India Did Not Offer to Arbitrate Tax Disputes

       The 1994 India-UK BIT does not contain any offer for India to arbitrate disputes arising

from taxation measures, such as Petitioners’ dispute concerning the validity of India’s assessment

of capital gains tax. This conclusion is inescapable when the BIT is read together with the 1993

India-UK Double Taxation Avoidance Agreement (“DTAA”), the 2004 MOU demonstrating the

continued applicability of the 1993 DTAA, and numerous related statements by the Government

of India, as well as India’s long-standing statutory law prohibiting the arbitration of tax disputes.

       First, pursuant to Article 31(3)(c) of the Vienna Convention on the Law of Treaties

(“VCLT”), the 1994 BIT must be interpreted in accordance with “any relevant rules of

international law applicable in the relations between the parties.” Writ ¶¶ 240, 252. This category

includes the principle of fiscal sovereignty embodied in the 1993 DTAA, Article 27 of which

                                                  17
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 25 of 42




establishes a distinct dispute-resolution mechanism for tax disputes known as the “Mutual

Agreement Procedure,” which does not contemplate arbitration. See 1993 DTAA, art. 27 (Lamm

Decl., Ex. 2 at 26-27). It is the 1993 DTAA that specifically addresses tax disputes—including

disputes over capital gains tax and double non-taxation—whereas the 1994 BIT is a general

instrument applying to property disputes and economic rights more broadly. Writ ¶¶ 257-58. It is

thus self-evident that India and the UK intended for the Mutual Agreement Procedure under the

1993 DTAA to apply to disputes such as the present one, and not the more general arbitration

procedure established under the 1994 BIT.

       In the Award, the Tribunal incorrectly applied a different principle—the principle of lex

posterior—on the supposed basis that “the UK-India DTAA predates the BIT,” such that “the BIT

would derogate from the UK-India DTAA, and not vice versa.” Award ¶ 804. The two States’

conduct, however, has repeatedly demonstrated that neither India nor the United Kingdom

understood the BIT as superseding the DTAA’s Mutual Agreement Procedure. That is, the parties

negotiated the 1993 DTAA and 1994 BIT in parallel during the same years, and the earlier

agreement did not even come into effect until April 6, 1994, after the latter agreement was already

concluded on March 14, 1994. See Art. 30, DTAA. This demonstrates how unlikely it was that

the latter agreement was intended to supersede or invalidate the earlier agreement. Moreover, the

1993 DTAA was later supplemented with a Memorandum of Understanding (“2004 MOU”)

confirming the continued applicability of the DTAA’s Mutual Agreement Procedure, as well as

with further treaty amendments in 2013. 2004 MOU (Lamm Decl., Ex. 3); 2013 Protocol

Amending the Double Taxation Agreement Between the United Kingdom and the Republic of

India (Lamm Decl., Ex. 9).




                                                18
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 26 of 42




       The above conclusion is further confirmed by consistent statements by Indian public

officials for more than two decades—beginning even before the 1994 BIT was concluded. See

Telefax from Department of Economic Affairs to India’s Ambassador to the Netherlands, October

1994, (“[W]e do not wish taxation matters to come within the purview of the Bilateral Investment

Protection Agreement . . . .”) (Van den Berg Decl., Ex. 7); Telefax from Department of Economic

Affairs to India’s Ambassador to the Germany, July 1995 (“[A]ll domestic tax laws would be

outside the scope of such [BITs] . . . [because] tax matters are inherently specialised matters which

should be the subject of separate bilateral Agreements and ought not to form part of [a BIT].”)

(Van den Berg Decl., Ex. 8); Message from Director of Foreign Investment to the Joint Secretary

for Foreign Trade and Investment, 1998 (“[T]axation matters are appropriately addressed under

the Double Taxation Avoidance Agreement between the two countries and there should be no

overlap between DTAA and BIPA provisions.”) (Van den Berg Decl., Ex. 9); Joint Interpretative

Statements for Indian Bilateral Investment Treaties dated 8 February 2016 (“In the treaties which

are silent on inclusion or exclusion of taxation measures from scope, it is implied that such treaties,

do not apply to any law or measure regarding taxation including measures taken to enforce taxation

obligations.”) (Van den Berg Decl., Ex. 10); Joint Interpretive Notes between the Respondent and

the Government of Bangladesh dated 4 October 2017, following the conclusion of the India-

Bangladesh BIT (confirming the 2016 joint interpretation) (Van den Berg Decl., Ex. 11).

       Second, and relatedly, Indian law prohibits arbitration of tax disputes under Section 293 of

the 1961 Income Tax Act, and provides a statutory mechanism for challenging tax assessments

under Chapter XX thereof. Sarkar Op. ¶ 18. Under Indian constitutional law, including the

principle of separation of powers, the Executive could not amend or diverge from these statutory

provisions in a bilateral treaty with the United Kingdom—given that this bilateral treaty was never



                                                  19
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 27 of 42




ratified by Parliament. Sarkar Op. ¶ 34. As the Indian Supreme Court held explicitly in 2009,

long before Petitioners attempted purportedly to accept any offer of arbitration, it has been “well

known” for decades under Indian law that in case “a conflict arises between a treaty and the

domestic law or a municipal law, the latter shall prevail.” Sarkar Op. ¶ 32 (quoting Bhavesh

Lakhani v. State of Maharashtra, (2009) 9 SCC 551 ¶ 46 (India)).

       Although the Tribunal simply refused to consider the relevance of Indian law on the

arbitration of tax disputes, in fact this point has specific legal consequences under Article 46 of

the Vienna Convention on the Law of Treaties. That provision explicitly authorizes India to

“invoke the fact that its consent to be bound by a treaty has been expressed in violation of its

internal law regarding competence to conclude treaties” in instances where, as here, “that violation

was manifest and concerned a rule of its internal law of fundamental importance.” Article 46(1)

VCLT. As Mr. Sarkar explains, both the separation of powers and the hierarchy of legal norms

are fundamentally important principles of Indian constitutional law. Sarkar Op. ¶ 25. The UK

negotiators undoubtedly understood this Indian constitutional principle—subjectively, as well as

objectively because the UK applies precisely the same principle in accordance with the

Westminster model of democracy (which India inherited from the UK). Writ ¶¶ 217-18.

       Accordingly, based upon the relationship between the 1993 DTAA and the 1994 BIT, as

well as the applicable Indian law prohibiting the arbitration of tax disputes, India did not extend

any standing offer to arbitrate this tax dispute with Petitioners.

               India Did Not Offer to Arbitrate Disputes Involving Illegal Investments,
               Such as Petitioners’ Abusive Tax-Avoidance Structure

       Nor did India consent to arbitrate disputes arising out of an investor’s tax avoidant conduct.

Article 1(b) of the BIT contained an express legality condition: “[an] ‘investment’ means every

kind of asset established or acquired, including changes in the form of such investment, in


                                                  20
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 28 of 42




accordance with the national laws of the Contracting Party in whose territory the investment is

made[.]” BIT, art. 1(b). As the lawfulness of the tax avoidant transactions is matter affecting the

existence of a protected “investment” under Article 1(b) of the BIT, it is one of the necessary

conditions for India’s consent to arbitrate under Article 9. It therefore has never been disputed by

Petitioners that the legality of Petitioners’ investment is a jurisdictional condition under the BIT,

and therefore is a condition of India’s offer to arbitrate. Award ¶¶ 709-710; Writ ¶¶ 315-317.

       Petitioners’ 2006 Divestment was not established “in accordance with the national laws”

of India. Writ ¶¶ 314-15. This series of transactions—pursuant to which CUHL and its alleged

investment came into existence and CEP’s investment changed in form—were part of an abusive

tax avoidance scheme on the part of Cairn, directed at siphoning off billions of dollars from India’s

economy, without paying the due capital gains tax. Writ ¶¶ 374-75. This was a gross violation of

Indian tax laws, thereby depriving Cairn’s alleged investments of any protection under the India-

UK BIT.

       As explained by Mr. Justice Nandrajog, India’s anti-avoidance rules rely upon the doctrine

of “substance over form.” Writ ¶¶ 344-45; Nandrajog ¶¶ 7, 11. To assess whether a transaction

is tax avoidant or not, the relevant test that is applied under Indian law is the “dominant purpose”

test, which entails an inquiry into whether the dominant purpose of the structure used for the

transaction was the avoidance of tax or if it was a legitimate business purpose. If the dominant

intention behind the transaction is proven to be tax avoidance, that will suffice for the purposes of

applying the “substance over form” doctrine. Writ ¶¶ 344-45; Nandrajog ¶¶ 7, 11.

       In the present case, the tax-avoidant purpose of the 2006 Divestment is demonstrated by

both subjective and objective evidence. Writ § II.A(ii)(b); Nandrajog ¶¶ 10-11.              This is

demonstrated by the following evidence, among other factors.



                                                 21
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 29 of 42




       First, it is evident that Petitioners subjectively chose “Plan C” in order to avoid capital

gains tax. The economic substance of the 2006 Divestment was simple—effectively, Petitioners

sought to transfer oil-producing asset from non-Indian companies to an Indian company in order

to facilitate an IPO based on the Indian assets’ value. Writ ¶¶ 373-74. Petitioners’ accounting

advisors identified three potential methods of executing this transaction. Writ ¶ 368. According

to Petitioners’ advisors, “Plan A” and “Plan B” both would entail “an exposure to capital gains tax

in India.” Id. Any reasonable person would have understood, therefore, that a third version of

achieving the same economic substance—Petitioners’ “Plan C”—would also necessarily be

subject to capital-gains tax under a “substance over form” approach. Writ ¶ 373.

       Second, Petitioners employed distinctly artificial mechanisms—i.e., action with no

economic purpose—in order to implement the 2006 Divestment. Most obviously, the Daylight

Loans involved the round tripping of cash worth almost $1.5 billion into and out of India within

two 24-hour periods on October 12, 2006 and November 22, 2006. Writ ¶ 374. Based on the basic

economic pointlessness of the Daylight Loans, any reasonable person would have understood that

the 2006 Divestment was an artificial transaction, the form of which did not match its genuine

economic substance. Nandrajog Op. ¶¶ 10-11. Indeed, in their internal documents, Petitioners

and their advisors explicitly acknowledged that the Daylight Loans were “unique and untested”

and entailed a serious risk that the “cash [might] [] get stuck in India”. Writ ¶ 374.

       Third, great weight must be given to the simple fact that Petitioners ultimately paid no

capital gains tax anywhere in the world—despite raising $ 1.98 billion from the Indian investing

public, and promptly extracting $1.35 billion from the Indian economy. Writ ¶ 357. Given the

fact that CUHL’s transactions for the facilitation of these cash flows resulted in capital gains of

$ 5.5 billion, it is simply absurd for such massive transactions to avoid capital gains tax entirely.



                                                 22
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 30 of 42




Writ ¶¶ 53-54. Any objectively reasonable person would necessarily anticipate that such a result

is incompatible with the “substance over form” approach to anti-tax-avoidance doctrines.

       Fourth, given the broad language of Section 9(1)(i) of the 1961 Income Tax Act, as it stood

in 2006, any reasonable person would have understood that CUHL needed to file a tax return for

the relevant time period. IT Act § (9)(1)(i) (Lamm Decl., Ex. 10) (providing that the income

taxable in India includes “all income accruing or arising, whether directly or indirectly, through or

from any business connection in India, or through or from any property in India, or through or

from any asset or source of income in India, or through the transfer of a capital asset situated in

India.” (emphasis added)). Petitioners’ witness suggested in her declaration that CUHL had not

filed any tax return “on the advice of its accounting experts because . . . there was no taxable event

in 2006.” Brown ¶ 111 (Van den Berg Decl., Ex. 12). On its face, however, Section 9(1)(i) of the

1961 Income Tax Act, as it stood in 2006, was applicable to CUHL’s transactions (e.g., as

reflecting “income,” “business connection in India,” “property in India,” and “the transfer of a

capital asset situated in India”) in particular because this provision had consistently been

interpreted by Indian courts in a purposive manner. IT Act § (9)(1)i) (Lamm Decl., Ex. 10).

Failure to file a tax return in India was necessarily strategic—and, indeed, this strategy was

successful for nearly seven years, inasmuch as the Indian tax authorities were unaware of

Petitioners’ massive capital gains until the 2014 investigation.

       Fifth, even the Tribunal’s own findings confirm the artificiality of the 2006 Divestment.

The Tribunal specifically endorsed the 2006 Divestment as a “triumph of form over substance.”

Writ ¶ 378. This finding can only confirm that a transaction is taxable in a system that applies the

opposite rule, such as the Indian anti-tax-avoidance system: “substance over form.” Writ ¶¶ 344-

45; Nandrajog ¶ 7, 11.



                                                 23
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 31 of 42




       Given that any reasonable person would have recognized the possibility that the 2006

Divestment would be subject to capital gains tax, and that Petitioners took multiple careful

measures to avoid paying capital gains tax (and even to avoid detection by the tax authorities), the

2006 Divestment must necessarily be understood as an unlawful, abusive, and tax-avoidant

transaction. Such a transaction is necessarily not “in accordance with the national laws of the

Contracting Party in whose territory the investment is made,” as required by Article 1(b) of the

UK-India BIT. India therefore never offered to arbitrate any disputes arising from such a

transaction, and Petitioners’ attempt to “accept” such a purported offer could not form any

arbitration agreement.

               India Did Not Offer to Arbitrate Disputes Involving Petitioners’
               “Divestments” or “Returns”

       Petitioners contend that an agreement to arbitrate was formed pursuant to Article 9 of the

BIT. Pet. ¶¶ 10, 70. Under the BIT, however, India only consented to arbitrate disputes that

involved an “investment” as defined by Article 1(b) of the Treaty. To accept India’s offer under

Article 9(b), an investor had to bring a dispute grounded in an “investment” that was “established”

or “acquired” in India. India-UK BIT, art. 1(b).

       Petitioners’ intra-group transactions do not fall within the definition of an “investment” as

contemplated by Article 1(b). Rather, they constitute a divestment—an extraction or removal—

of economic capital from India. Writ § IV.C(iv). It is an inherent characteristic of an investment

that a capital contribution is transferred into the host State. Writ ¶ 400; Salini Costruttori S.p.A.

and Italstrade S.p.A. v. Kingdom of Morocco (Decision on Jurisdiction), ICSID Case No.

ARB/00/4, 23 July 2001, 42 I.L.M. 609, 609-624 (2003) (explaining that a “contribution” of

capital is fundamentally part of the nature of an investment) (Lamm Decl., Ex. 11). In the present

case, however, the opposite occurred.       As a result of the Daylight Loans and intra-group


                                                 24
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 32 of 42




transactions, Petitioners systematically divested their stake in India’s oil and gas business while

reaping gains amounting to approximately US$ 5.5 billion—much of which was distributed to

Petitioners’ shareholders. Award ¶ 1453. The 2006 Divestment, then, was carried out with the

aim of divesting (i.e. removing) Petitioners’ interests from the Indian economy. The present

dispute, therefore, did not fall within India’s standing offer to arbitrate under Article 9 of the BIT.

       Relatedly, the BIT clearly distinguishes between an “investment,” as defined by Article

1(b), and “returns,” as defined by Article 1(e). The definition of “returns” includes “the monetary

amounts yielded by an investment such as . . . capital gains.” BIT, art. 1(e) (emphasis added). It

is indisputable that Petitioners sought to challenge India’s tax assessment on their capital gains—

therefore, on their “returns”—by initiating the underlying arbitration. But India did not offer to

arbitrate “returns.” Under the BIT, the protections regarding “most-favored nation treatment,”

under Article 4(2) and the right to repatriation of investments and returns under Article 7 expressly

apply to both “investments” and “returns.” See BIT arts. 4(2), 7. The other standards of protection

under the BIT, including the arbitration provision in Article 9, only apply to protected

“investments” and thus omit coverage of “returns.” Writ ¶ 101. India therefore did not expressly

or impliedly agreed to arbitrate disputes resulting from returns such as the capital gains that

accrued as a result of the 2006 Divestment.

               The Parties Did Not Exclude Judicial Review of the Existence of an
               Arbitration Agreement

       Two additional points should be made regarding the framework applicable to this Court’s

analysis in the present case.

       First, the India-UK BIT references the UNCITRAL Arbitration Rules, which contain a so-

called “competence-competence” clause under Article 21(1). Specifically, this clause provides

that “[t]he arbitral tribunal shall have the power to rule on objections that it has no jurisdiction,


                                                  25
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 33 of 42




including any objections with respect to the existence or validity of the arbitration clause or of the

separate arbitration agreement.” UNCITRAL Rules, art. 21(1). In two previous decisions, the

D.C. Circuit has acknowledged that at least some “parties’ adoption of UNCITRAL’s arbitration

rules” may indeed be “clear and unmistakable evidence that the parties agreed to arbitrate

arbitrability.” LLC SPC Stileks v. Republic of Moldova, 985 F.3d 871, 879 (D.C. Cir. 2021)

(quoting Chevron, 795 F.3d at 204). In both of those cases, the D.C. Circuit found that subsequent

judicial review of the arbitrators’ conclusions regarding their own arbitral jurisdiction was

therefore precluded under First Options, 514 U.S. at 944. The D.C. Circuit’s conclusions in Stileks

and Chevron, however, are not dispositive in the present case.

        This is because, in the present case, there is ample evidence that the specific parties before

this Court—including both India and Petitioners—shared a distinct understanding of Article 21(1)

of the UNCITRAL Arbitration Rules.            “[C]ontext matters,” as the Second Circuit recently

explained, because “[i]ncorporation of such rules into an arbitration agreement does not, per se,

demonstrate clear and unmistakable evidence of the parties’ intent to delegate threshold questions

of arbitrability to the arbitrator where other aspects of the contract create ambiguity as to the

parties’ intent.” DDK Hotels, LLC v. Williams-Sonoma, Inc., No. 20-2748-cv, 2021 U.S. App.

LEXIS 21862, at *22 (2d Cir. July 23, 2021) (emphasis added). “Where . . . the arbitration

agreement is narrower, vague, or contains exclusionary language suggesting that the parties

consented to arbitrate only a limited subset of disputes, incorporation of rules that empower an

arbitrator to decide issues of arbitrability, standing alone, does not suffice to establish the requisite

clear and unmistakable inference of intent to arbitrate arbitrability.” Id. at *24.

        In the present case, a key aspect of the context is how the concept of “competence-

competence” has been consistently understood in the parties’ home jurisdictions (India and the



                                                   26
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 34 of 42




UK) and in the seat of arbitration (the Netherlands). That is, since before Petitioners’ arbitration

against India began in 2015, all three relevant jurisdictions unanimously interpreted an arbitral

tribunal’s “power to rule on objections that that it has no jurisdiction” to mean only that the arbitral

tribunal need not wait for a court’s eventual assessment of the arbitral tribunal’s jurisdiction before

arbitration can begin. This did not mean, however, that judicial review would be precluded after

arbitration is completed, as detailed below. It is therefore this Court’s role to evaluate the explicit

terms of the 1994 BIT, the 1993 DTAA, the 2004 MOU, and the other legal instruments pertaining

to India’s offer to arbitrate, as described above.

        Specifically, the U.K. Supreme Court held in 2010 that “the concept of competence-

competence . . . says nothing about judicial review,” and that “[a]n arbitral tribunal’s decision as

to the existence of its own jurisdiction cannot therefore bind a party who has not submitted the

question of arbitrability to the tribunal.” Dallah Real Estate and Tourism Holding Co. v. The

Ministry of Religious Affairs, Gov’t of Pakistan, (2010) UKSC 46 ¶¶ 25-26, 84-86 (Sarkar Op.,

Ex. 52) (emphasis added). In 2013, the Indian Supreme Court likewise held that, in accordance

with “the principle of ‘Kompetenz kompetenz,’” the arbitral tribunal must “rule on its own

jurisdiction and at the first instance,” but “[t]he arbitrators are to be not the sole judge but first

judge, of their jurisdiction.” Chloro Controls (India) Private Ltd. vs. Severn Trent Water

Purification Inc. and Orgs., (2013) 1 SCC 641 ¶ 129 (India) (Sarkar Op., Ex. 34) (emphasis added).

Most recently, in 2015, the Dutch Supreme Court likewise explained that “the question whether a

valid arbitration agreement has been concluded ultimately is referred to the courts,” even though

Article 1052(1) of the Dutch Code of Civil Procedure explicitly acknowledges that any Dutch

arbitral tribunal possesses “jurisdiction . . . to determine its own jurisdiction” at the outset of

arbitration. Republic of Ecuador/Chevron Corp., HR, 24 Sept. 2014, First Chamber No. 13/04679



                                                     27
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 35 of 42




(EV/LZ) (Neth.) ¶ 4.2 (Van den Berg Decl., Ex. 3). As observed by the Dutch scholar, Professor

Peter Sanders, who was a principal drafter of the Dutch arbitration statute and a special advisor to

UNCITRAL: “[T]he final word on the competence of arbitrators still remains with the Court.”

Pieter Sanders, Commentary on UNCITRAL Arbitration Rules, 2 Y.B. COM. ARB. 172, 196-97

(Pieter Sanders ed., 1977) (Van den Berg Decl., Ex. 2).

        Accordingly, regardless of what Article 21(1) of the UNCITRAL Arbitration Rules may

have potentially meant for other parties in other cases, e.g., Stileks, 985 F.3d at 879, the context

surrounding the arbitration in the present case shows that neither India nor Petitioners understood

the competence-competence clause to preclude judicial review. The present case therefore does

not present “clear and unmistakable evidence” that the parties intended to delegate the question of

the arbitrators’ competence exclusively to the arbitrators under First Options, 514 U.S. at 944.

        Second, the arguments presented above in Parts I-A, I-B, and I-C are fundamentally

directed toward the existence of an agreement to arbitrate, rather than the scope of any such

purported agreement. This is because BITs are not the only type of instrument where a potential

respondent extends a standing offer to arbitrate “with an amorphous class” of prospective

claimants. Cf. BG Grp., 572 U.S. at 46 (Sotomayor, J., concurring in part). For example, both the

federal courts and the D.C. courts have identified many instances where professional licensees—

especially lawyers and financial professionals—extend standing offers to arbitrate certain

categories of disputes with their “clients” or “customers.” 3

        Indeed, all attorneys licensed in the District of Columbia have extended standing offers to

arbitrate “disputes over fees” with “client[s]” under Rule XIII of the D.C. Bar Rules. Schwartz v.


3
    Precedents concerning arbitration cases against professional licensees have been directly applied in BIT disputes,
    as the Supreme Court illustrated in BG Group, 572 U.S. at 39, by explicitly evaluating the Argentina-UK BIT
    under the “ordinary intent-determining framework” set forth in Howsam v. Dean Witter Reynolds, 537 U.S. 79,
    83-85 (2002), a case involving an arbitration between a licensed investment advisor and a client.


                                                         28
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 36 of 42




Chow, 867 A.2d 230, 232 n.7 (D.C. 2005) (“Rule XIII provides that an attorney who is a member

of the District of Columbia Bar ‘shall be deemed to have agreed to arbitrate disputes over fees for

legal services . . . when such arbitration is requested by a present or former client . . . .’”). Similarly,

as observed by the D.C. Circuit, licensed members of the New York Stock Exchange (“NYSE”)

have extended standing offers to arbitrate disputes with “customers” that arise “in connection with

the business of such members.” Pearce v. E.F. Hutton Grp., Inc., 828 F.2d 826, 828 (D.C. Cir.

1987) (analyzing Article XI of the NYSE Constitution and NYSE Rule 600(a)). Analogous

standing offers have been extended by licensees of the Financial Industry Regulatory Authority

(“FINRA”) and the National Association of Securities Dealers (“NASD”). UBS Sec. LLC v.

Voegeli, 684 F. Supp. 2d 351, 355 n.7 (S.D.N.Y. 2010) (“Like FINRA Rule 12200, NASD Rule

10301(a) required arbitration of ‘any dispute . . . between a customer and a member . . . arising in

connection with the business of such member . . . upon the demand of the customer.’”).

        Over decades, therefore, the federal courts have developed a substantial body of case law

analyzing these standing offers to arbitrate. Where the claimant’s purported acceptance—the

“demand for arbitration”—fails to correspond to the material terms of the standing offer, then no

arbitration agreement comes into existence. E.g., Citigroup Glob. Mkts. v. Abbar, 761 F.3d 268,

274 (2d Cir. 2014) (“Because the parties here are disputing the existence of an obligation to

arbitrate, not the scope of an arbitration clause, the general presumption in favor of arbitration does

not apply”); Raymond James Fin. Servs. v. Cary, 709 F.3d 382, 386 (4th Cir. 2013) (“[The

respondent] agreed to arbitrate disputes with its customers, not with those who fall outside that

category. . . . Whether appellants are customers thus relates to ‘the existence of a contract to

arbitrate,’ not the ‘scope’ of that potential agreement.”) (emphasis in original); FSP, Inc. v. Societe

Generale, No. 02-CV-4786, 2005 U.S. Dist. LEXIS 3081, at *15 (S.D.N.Y. Feb. 25, 2005) (“[T]he



                                                    29
        Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 37 of 42




Court must still examine [the] answer and counterclaims to make a threshold determination of

whether they legitimately raise matters that are properly subject to NYSE arbitration.”). This is

particularly relevant in the present case, as explained above, because the terms of the 1994 BIT,

the 1993 DTAA, the 2004 MOU, and the other legal instruments reflect that India never offered

to arbitrate the present dispute. Nor did the parties clearly and unmistakably agree to an exclusive

delegation of the decision on arbitrability to the arbitrators.

        In accordance with the case law concerning standing offers to arbitrate, therefore, this

Court must also determine whether the parties entered into an agreement to arbitrate, when

Petitioners purported to accept the offer of arbitration under Article 9 of the 1994 India-UK BIT.

If the Court ultimately concludes that no arbitration agreement exists, then §1605(a)(6) cannot

provide any basis for this Court’s subject-matter jurisdiction as to claims against India under the

FSIA. See Belize Soc. Dev., Ltd. v. Go’vt of Belize, 794 F.3d 99, 102, 103 (D.C. Cir. 2015)

(explaining that the court “would not be bound to honor the arbitral tribunal’s determinations” if

the court itself concluded that the “arbitration provision of the contract is void” under the FSIA).

                                   *               *              *

        In light of the above, India’s standing offer of arbitration in Article 9 of the BIT did not

correspond to Petitioners’ acceptance, such that no arbitration agreement was ever formed. The

present case, therefore, does not fall within the FSIA’s arbitration exception under 28 U.S.C.

§1605(a)(6). Accordingly, this Court should dismiss the present action for lack of subject-matter

jurisdiction.




                                                  30
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 38 of 42




II.    India Has Not Waived Its Sovereign Immunity

       Petitioners’ invocation of the waiver exception is equally inapposite here. Pet. ¶10. Under

the FSIA, a foreign state may waive its sovereign immunity “either explicitly or by implication.”

28 U.S.C. § 1605(a)(1).

       In the D.C. Circuit, both explicit and implicit waivers are construed “narrowly.” See World

Wide Minerals, LTD. v. Rep. of Kazakhstan., 296 F.3d 1154, 1162 (D.C. Cir. 2002) (“[E]xplicit

waivers of sovereign immunity are narrowly construed in favor of the sovereign and are not

enlarged beyond what the language requires.” (citation and quotation marks omitted)); Creighton

Ltd. v. Gov’t of Qatar, 181 F.3d 118, 122 (D.C. Cir. 1999) (explaining that implicit waivers are

likewise construed narrowly).

       Because Petitioners have failed to identify any explicit waiver of immunity (see Pet. ¶10),

this Court need only evaluate Petitioners’ arguments regarding a purported implicit waiver.

Congress anticipated only three forms of implicit waiver under § 1605(a)(l): (1) waiver by

arbitration agreement, (2) waiver by choice-of-law provision, and (3) waiver by answering a

complaint without asserting sovereign immunity. H.R. Rep. 1487, 94th Cong. 2d Sess., 18 (1976);

Sen. Rep. 1310, 94th Cong. 2d Sess., 18 (1976). The D.C. Circuit recently confirmed that only

these “three circumstances” can provide the requisite evidence of a foreign state’s intent to effect

an implied waiver of sovereign immunity. Ivanenko v. Yanukovich, 995 F.3d 232, 239 (D.C. Cir.

2021) (emphasis added) (citation and quotation marks omitted); see also World Wide Minerals,

296 F.3d at 1161 n.11 (“[C]ourts have been reluctant to stray beyond these examples when

considering claims that a nation has implicitly waived its defense of sovereign immunity.” (citation

and quotation marks omitted)). Accordingly, because Petitioners have not and cannot identify any

of these three scenarios—i.e., any arbitration agreement, choice-of-law provision, or litigation




                                                31
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 39 of 42




conduct—demonstrating India’s implicit waiver of immunity, this Court must reject Petitioners’

invocation of the waiver exception under §1605(a)(1).

       Petitioners maintain, however, that India implicitly waived its sovereign immunity by

signing the New York Convention. Pet. ¶10. This argument is untenable. The Convention does

not even mention sovereign immunity, let alone any waiver. The Convention’s fundamental

purpose, moreover, was to govern the arbitration of “commercial” disputes involving ordinary,

commercial entities—i.e., not sovereign entities entitled to immunity. E.g., art. I(3), New York

Convention. Accordingly, neither the text, nor the context, nor the object and purpose of the New

York Convention suggest any intent by the drafter or signatory States to address issues of sovereign

immunity, as academic writers have confirmed. Andreas Börner, Article III, in Recognition And

Enforcement of Foreign Arbitral Awards: A Global Commentary on the New York Convention,

126 (Herbert Kronke, et al. eds., 2010) (“The Convention does not contain any specific rules of

international law regarding immunity in [recognition] proceedings.”); W. Mark C. Weidemaier,

Sovereign Immunity and Sovereign Debt, 2014 U. Ill. L. Rev. 67, 77 (2014) (“The New York

Convention … does nothing to lift a sovereign’s immunity from suit or execution.”).

       Indeed, if joining the New York Convention waived the States parties’ sovereign

immunity, such a waiver would apply equally to the United States’ own immunity from suit. Such

waivers, however, must also be “unambiguously expressed.” FAA v. Cooper, 566 U.S. 284, 291

(2012) (“For the same reason that we refuse to enforce a waiver that is not unambiguously

expressed in the statute, we also construe any ambiguities in the scope of a waiver in favor of the

sovereign.”). That standard is not met here—indeed, if the New York Convention were even

plausibly to be construed as a waiver of immunity, then the U.S. legislative history concerning

ratification would analyze or at least refer to the topic. But the Congressional record is entirely



                                                32
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 40 of 42




silent, thus demonstrating the inherent improbability of Petitioners’ argument. See generally S.

Rep. No. 91-702 (1970) (never addressing any waiver of the United States’ sovereign immunity);

H.R. Rep. No. 91-1181 (1970) (same).

       Finally, Petitioners cite dicta from a single case, Tatneft, 771 F. App’x at 10, suggesting

that signing the New York Convention alone waives sovereign immunity. As the D.C. Circuit has

recently emphasized, however, “Tatneft was an unpublished disposition, so it does not bind” this

Court in the present case. P&ID, 962 F.3d at 583-84 (observing that there is no binding precedent

interpreting the New York Convention itself to be a waiver of sovereign immunity).

       In any event, contrary to Petitioners’ argument, even the Tatneft panel did not rely solely

on Ukraine’s ratification of the New York Convention to determine whether Ukraine had implicitly

waived immunity. The Tatneft case involved a straightforward application of Creighton Ltd. v.

Qatar, which recognized a waiver of sovereign immunity only where two separate and distinct

requirements had been satisfied: (1) “the defendant sovereign was . . . a signatory to the [N.Y.]

Convention” and also (2) “had agreed . . . to arbitrate in the territory” of another signatory. 181

F.3d at 123. Tatneft could not and did not dispense with the second requirement under Creighton—

an agreement to arbitrate. In the present case, as explained above in Part I, no such agreement to

arbitrate exists, such that India’s signature of the New York Convention itself cannot have

independently resulted in any waiver under the FSIA.

       Accordingly, this Court should also reject Petitioners’ purported invocation of the waiver

of foreign sovereign immunity under § 1605(a)(1).

                                         CONCLUSION

       For the reasons stated above, India respectfully requests that the Petition be dismissed with

prejudice for lack of subject matter jurisdiction under the FSIA.




                                                33
      Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 41 of 42




Dated: August 13, 2021                    Respectfully submitted,
       Washington, DC


                                          /s/ Carolyn B. Lamm             ,
                                          Carolyn B. Lamm (D.C. Bar No. 221325)
                                          Nicolle Kownacki (D.C. Bar No. 1005627)
                                          David P. Riesenberg (D.C. Bar No. 1033269)
                                          701 Thirteenth Street, NW
                                          Washington, DC 20005
                                          Telephone:     + 1 202 626 3600
                                          Facsimile:     + 1 202 639 9355
                                          clamm@whitecase.com

                                          Counsel for the Republic of India




                                     34
       Case 1:21-cv-00396-RJL Document 16-1 Filed 08/13/21 Page 42 of 42




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2021 a true and correct copy of the Statement of Points

and Authorities in Support of the Republic of India’s Motion to Dismiss was served by electronic

filing on the following counsel of record:

Mark McNeill (Pro Hac Vice)
Dennis H. Hranitzky (Pro Hac Vice)
Debra O’Groman (Pro Hac Vice)
QUINN EMANUEL URQUHART &
SULLIVAN LLP
51 Madison Avenue, 22nd Floor
New York, NY 10010
Emails: markmcneill@quinnemanuel.com
dennishranitzky@quinnemanuel.com
debraogorman@quinnemanuel.com

Florentina Dragulescu Field
(DC Bar No. 1531549)
QUINN EMANUEL URQUHART &
SULLIVAN LLP
1300 I Street NW, Suite 900
Washington, District of Columbia 20005
Email: florentinafield@quinnemanuel.com

Counsel for Cairn Energy PLC and Cairn
UK Holdings Limited




                                                    /s/ Carolyn B. Lamm
                                                    Carolyn B. Lamm (D.C. Bar No. 221325)
                                                    Nicolle Kownacki (D.C. Bar No. 1005627)
                                                    David Riesenberg (D.C. Bar No. 1033269)

                                                    701 Thirteenth Street, NW
                                                    Washington, DC 20005
                                                    Telephone: (202) 626-3600
                                                    Facsimile: (202) 639-9355

                                                    Counsel for the Republic of India




                                               35
